                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 v.                                           )                        ORDER
                                              )
 JERITON LAVAR CURRY,                         )
                                              )
                 Defendant.                   )



        THIS MATTER is before the court on defendant’s pro se Motion (#251). Having

considered defendant’s motions and reviewed the pleadings, the court enters the following Order.

        The court takes notice of defendant Curry’s repeated pro se Motions filed while he is

represented by counsel, which have been denied without prejudice pursuant to L.Cr.R. 47.1(H).

Counsel is strongly advised to inform the defendant about the proper filing of documents, and the

Fifth Amendment hazards of making such filings. Defendant is advised to consult with his

attorney, who may make Motions on defendant’s behalf and protect his Fifth Amendment

privilege.

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s pro se Motion (#251) is DENIED

without prejudice as defendant is represented by counsel. See L.Cr.R. 47.1(H).

                                                            Signed: June 26, 2017




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